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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF RHODE ISLAND


 STATE OF NEW YORK, et al.,

              Plaintiffs,

              v.                                    Civil Action No. 1:25-cv-39 (JJM)

 DONALD TRUMP, IN HIS OFFICIAL
 CAPACITY AS PRESIDENT OF THE
 UNITED STATES, et al.,

                            Defendants.

  DEFENDANTS’ MOTION TO STAY TEMPORARY RESTRAINING ORDER
           AND RELATED ORDERS PENDING APPEAL

       This Court entered a temporary restraining order on January 31, 2025. See

 ECF No. 50. The Court subsequently extended that order, see Text Order of Feb. 6,

 2025, and also entered an order granting Plaintiffs’ Motion to Enforce the TRO, see

 ECF No. 96. Defendants have now appealed all three Orders, and are requesting a

 stay pending appeal from the United States Court of Appeals for the First Circuit.

       Prior to entry of the original temporary restraining order, Defendants

 requested that this Court stay any injunctive relief pending any appeal that is

 authorized. See ECF No. 49 at 6. This Court did not stay its temporary restraining

 order or its subsequent orders. Out of an abundance of caution to ensure compliance

 with Federal Rule of Appellate Procedure 8(a) (“A party must ordinarily move first in

 the district court for . . . a stay of the judgment or order of a district court pending

 appeal.”), Defendants respectfully submit this motion to stay the temporary

 restraining order (and related orders) pending appeal.



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       “[T]he factors regulating the issuance of a stay are . . . (1) whether the stay

 applicant has made a strong showing that he is likely to succeed on the merits;

 (2) whether the applicant will be irreparably injured absent a stay; (3) whether

 issuance of the stay will substantially injure the other parties interested in the

 proceeding; and (4) where the public interest lies.” Hilton v. Braunskill, 481 U.S. 770,

 776 (1987). Here, these factors weigh in favor of a stay.

       First, this Court’s Orders intrude on Defendants’ lawful authorities. Although

 the Court’s initial TRO acknowledged that agencies could implement funding pauses

 “on the basis of the[ir] applicable authorizing statutes, regulations, and terms,” ECF

 No. 50 at 12, the Order entered earlier today now forecloses agencies from doing so.

 Thus, agencies are now enjoined from implementing their own statutory authorities

 and exercising their own discretion wholly apart from the OMB Memorandum

 challenged in this case. Specifically, the Court’s Order earlier today affirmatively

 directs that “Defendants must immediately restore frozen funding” and “immediately

 end any federal funding pause,” even when a pause or delay in funding stems from

 an agency’s own operations or authorities. ECF No. 96 at 4, ¶¶ 1-2.

       Moreover, the Court has provided this broad relief in a lawsuit that is

 challenging a single memorandum that has now been withdrawn. Although the

 Court characterizes that memorandum as “a broad, categorical, all-encompassing

 directive freezing federal funding,” ECF No. 96 at 3, the memorandum applied to a

 far narrower class of funding than Plaintiffs portray, see ECF No. 49-1, and at its core

 the memorandum simply instructed agencies to pause certain funds to the extent




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 doing so was consistent with their underlying statutory authorities, which is a well-

 settled exercise of authority. See Bldg. & Const. Trades Dep’t v. Allbaugh, 295 F.3d

 28, 32 (D.C. Cir. 2002). Thus, Defendants have a “strong showing” that they are likely

 to succeed on appeal.

       Second, the balance of equities and public interest overwhelmingly favor a stay

 pending appeal. See Nken v. Holder, 556 U.S. 418, 435 (2009) (noting that these

 factors merge in cases involving the government).       The Court’s Orders prohibit

 agencies from exercising their lawful authorities to ensure that taxpayer funds are

 being expended in an orderly and proper fashion, and intrude on the President’s

 Article II authority to direct subordinate agencies how to exercise their own

 authorities. Barring the government from ensuring that, where legally permitted,

 agency funding decisions are consistent with those policies is a direct affront to the

 will of the people and an intolerable intrusion on the prerogatives of the Executive

 Branch. The Orders also present especially stark separation-of-powers problems by

 extending to the President and requiring agencies to ask the Court’s permission

 before implementing pauses pursuant to their own authorities. ECF No. 96 at 3-4.

       Conversely, Plaintiffs have not established that they will suffer irreparable

 harm if the court’s Orders are stayed pending appeal. The purported agency action

 that they seek to challenge has now been rescinded. And to the extent they believe

 that any future deprivation of funds is unlawful, they can proceed through the

 ordinary course to challenge that specific deprivation. But they have not established

 the need for the type of sweeping relief entered by this Court, effectively turning the




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 Court into a referee over every single funding decision made by eleven different

 agencies.

       For these reasons and those set forth in Defendants’ earlier filings, this Court

 should grant a stay of its Orders pending appeal.


 Dated: February 10, 2025               Respectfully submitted,

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                         CERTIFICATION OF SERVICE

        I hereby certify that on February 10, 2025, I electronically filed the within
 Certification with the Clerk of the United States District Court for the District of
 Rhode Island using the CM/ECF System, thereby serving it on all registered users in
 accordance with Federal Rule of Civil Procedure 5(b)(2)(E) and Local Rule Gen 305.



                                               /s/ Daniel Schwei
                                               Daniel Schwei




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